     Case 1:06-cr-00027-MW-GRJ          Document 179       Filed 09/12/07     Page 1 of 1


                                                                                        Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:06-cr-00027-MP-AK

GIOVANNI G. CONEY,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 176, Motion to Continue Sentencing, filed by

Defendant Giovanni Coney. In his motion, Defendant Coney states that he is currently

cooperating with the Government pursuant to his plea agreement, and requests that his

sentencing hearing, currently set for September 13, 2007, be continued. The Government does

not object to the requested continuance. Accordingly, Defendant Coney’s motion is granted,

and the sentencing hearing is continued to Wednesday, October 24, 2007, at 9:00 a.m.


       DONE AND ORDERED this            12th day of September, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
